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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

xX
LEOPARD SOLUTIONS LLC, :
Index No. 21-10264
Plaintiffs,
-against- - NOTICE OF VOLUNTARY
‘DISMISSAL WITH PREJUDICE
MURRAY LOVE, ‘ PURSUANT TO FRCP
LEGALIST, INC., ° 41(a)(1)(A)@
XYZ COMPANIES and "
JOHN OR JANE DOES 1-10
Defendants.
xX

Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby
gives notice that the above-captioned action is voluntarily dismissed with prejudice as to all

Defendants.

Dated: New York, New York
December 23, 2021
Respectfully submitted,
COWAN, LIEBOWITZ & LATMAN, P.C.

/s/ Jeremy_A. Berman

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